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          IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                  GALVESTON DIVISION

MICHAEL BAZZREA, et al.                §
                                       §
     Plaintiffs                        §
                  v.                   §    CA No. 3:22-cv-00265
                                       §
ALEJANDRO MAYORKAS, et                 §
al.                                    §
                                       §
     Defendants.                       §

HANNAH ALLEN,
LARS ANDERSON,
CASSIDY ANDREWS,
DAVID ANDRIZZI,
CHAD ATWOOD,
MICHAEL BANNON,
RACHEL BECKWITH,
JAMES BERRY,
EILEEN BEST,
MARC BLOCK,
DARREL BOYLES,
CHRISTIAN BREWER,
JEFFERY BROOM,
NICHOLAS BROZUSKY,
MARK BYRD,
HEATHER CALDWELL,
JOSH CANDELARIA,
DAVID CARRIER,
KYLE CARTER,
RICHARD CHAPMAN,
NATHAN CHATWIN,
MICHAEL CHYNOWETH,
ALEXIS COLASURDO,
BRENNEN COLES,
BRANDON COLLINS,
JAMES COPELAND,
CHAD COPPIN,
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BENJAMIN COUTTS,
ALAN CRAWFORD,
RYAN CURRY,
ZACHARY CURRY,
NOAH DENEND,
CHRISTOPHER DEVINE,
ANTONIO DIAZ,
PAUL DIEDRICKS,
STEPHANIE DIEDRICKS,
ANDREW DONADIO,
NICOLE EDWARDS,
KENNEDY EILERMAN,
KALENA EXNER,
MICHAEL FAMBRO,
JAMES FIELDER,
BRANDI FLINN,
BERLIN GABRETTI,
LUKE GALAT,
JOHN GARLAND,
BRANDON GAROFALO,
LAURA GAROFALO,
DAN GOMEZ,
COLLEEN GRIFFIN,
AMY HALEY,
JOSH HANDELAND,
RICHARD HARDWICK,
CHRISTOPHER HARKINS,
JOSHUA HARRIS,
DANIEL HAUSER,
JAMES HEAD,
CRAIG HERMILLER,
MICHAEL HERNON,
SEAN HILL,
JOSHUA HUDSON,
SHANGO INDOMITUS,
CONNOR JEANNERET,
IAN JOBS,
EARL JOHNSON,
JESSIE JOHNSON,
RICHARD JOY,
COURTNEY KEITH,


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LAURIE KENNEDY,
JONG KIM,
JODIE KNOX,
BRIAN KUDRLE,
KELCIE LAROCHE,
ANDREW LARSEN,
JOHN LAZEAR,
ALINA LEHMAN,
GEORGETTE LOPEZ,
HEMAN MADRID,
HAL MARTIN,
ELIZABETH MASTORIDES,
CHARLES MATHIS,
JACKSON MCGINNIS,
CHRISTOPHER MEEDEL,
JAMES MERRILL,
CALEB MILLER,
ZACHARY MORAND,
DANIEL MORRISEEY,
EMILY MUHLENBECK,
JUSTIN MUNK,
ANDRE MURPHY,
CORLEY MYRES,
MARGARET NAKOA,
MATTHEW NEWKIRK,
SHANE NOLAN,
NICHOLAS POEHLER,
MATTHEW POWERS,
MICHAEL PRICE,
CASEY REYNOLDS,
TYLER REYNOLDS,
BETTINA RICHARDSON,
EDWARD RICHARDSON,
CHRISTOPHER ROBERTS,
RICARDO RODRIGUEZ-
VALENTIN,
SHELBY RODRIGUEZ,
ROBERT ROGERS,
HEATHER SANDS,
ROBY SCHERLER,
BRETT SCHMITT,


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A.J. SCHUR,
RYAN SHAW,
ZACHARY STETZEL,
PARKER SUBLETTE,
ZACH SULLIVAN,
JASON THORNE,
JEFFREY TUCKER,
SKYLER VYSE,
JASON WALLACE,
CHARLES WATSON III,
BRADLEY WEIKERT,
JACOB WHARTON,
JACOB WHITE,
TYLER WILKINSON,
STEVEN WOJICK,
TABITHA WOOLERY,

     Intervening Plaintiffs

                v.

ALEJANDRO MAYORKAS, in
his official capacity as
Secretary of the U.S.
DEPARTMENT OF
HOMELAND SECURITY,

LINDA L. FAGAN, in her
official capacity as
Commandant of the UNITED
STATES COAST GUARD,

LLOYD AUSTIN, in his official
capacity as Secretary of the
U.S. DEPARTMENT OF
DEFENSE,

JANET WOODCOCK, in her
official capacity as Acting
Commissioner of the U.S.



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FOOD AND DRUG
ADMINISTRATION,

      Defendants.

                   NOTICE OF WITHDRAWAL OF
                   ADDITIONAL 125 PLAINTIFFS’
                     MOTION TO INTERVENE

      On August 11, 2022, the undersigned counsel moved to Intervene

on behalf of 125 Additional Plaintiffs. ECF 13.

      Plaintiffs’ counsel gives Notice of the Withdrawal of the Motion to

Intervene, to be re-filed.


Dated:      Sept. 2, 2022

                              Respectfully submitted,

                              /s/ Travis Miller.
                              Travis Miller, Esq.
                              Texas Bar #24072952
                              Defending the Republic.
                              2911 Turtle Creek Blvd.,
                              Suite 300 Dallas, TX 75219
                              Email: twm@defendingtherepublic.org

                              /s/ Brandon Johnson
                              Brandon Johnson, Esq.
                              DC Bar No. 491370
                              Defending the Republic
                              2911 Turtle Creek Blvd.,
                              Suite 300 Dallas, TX 75219
                              Tel. 214-707-1775
                              Email: bcj@defendingtherepublic.org

                              /s/ Dale Saran
                              Dale Saran, Esq.


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                             MA Bar #654781
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                             Olathe, KS 66061
                             Telephone: 480-466-0369
                             Email: dalesaran@gmail.com

                             /s/ Simon Peter Serrano
                             S. Peter Serrano, Esq.
                             WA Bar #54769
                             5238 Outlet Dr.
                             Pasco, WA 99301
                             Telephone: 530-906-9666
                             Email: pete@silentmajorityfoundation.org
                             (PHV Motion Pending)

                             Attorneys for the Plaintiffs


         CERTIFICATE OF SERVICE & CONFERENCE

     This 2nd day of September, 2022, the foregoing Plaintiffs’ Motion

was e-filed using the CM/ECF system.

     Counsel has complied with the meet and confer requirement and

discussed the withdrawal of the prior motion with opposing counsel.


                               /s/ Dale Saran
                                   Dale Saran




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